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 7
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 9
                           UNITED STATES DISTRICT COURT
10
             CENTRAL DISTRICT OF CALIFORNIA- WESTERN DIVISION
11

12
                                              Case No.
13   ABACUC HERAS, an individual,
                                              Complaint For Damages And
14                   Plaintiff,               Injunctive Relief For:
15
     v.                                       1. VIOLATIONS OF THE
16                                               AMERICANS WITH DISABILITIES
17                                               ACT OF 1990, 42 U.S.C. §12181 et
     BED BATH & BEYOND OF                        seq.
18   CALIFORNIA, LIMITED
     LIABILITY COMPANY, a                     2. VIOLATIONS OF THE UNRUH
19
     Delaware limited liability company,         CIVIL RIGHTS ACT, CALIFORNIA
20   dba, Bed Bath & Beyond; and DOES            CIVIL CODE § 51 et seq.
     1-10, inclusive,
21

22                  Defendants.
23

24
           Plaintiff, ABACUC HERAS (“Plaintiff”), complains of Defendant BED
25
     BATH & BEYOND OF CALIFORNIA, LIMITED LIABILITY COMPANY, a
26
     Delaware limited liability company, dba, Bed Bath & Beyond, and Does 1-10
27
     (“Defendants”) and alleges as follows:
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                                        COMPLAINT
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 1                                         PARTIES:
 2           1.   Plaintiff is an adult California resident. Plaintiff is substantially limited
 3
     in performing one or more major life activities because he is a quadriplegic,
 4
     including but not limited to: walking, standing, ambulating, sitting and grasping
 5

 6   objects. As a result of these disabilities, Plaintiff relies upon a wheelchair for

 7   mobility. With such disabilities, Plaintiff qualifies as a member of a protected class
 8   under the Americans with Disabilities Act (“ADA”), 42 U.S.C. §12102(2) and the
 9
     regulations implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq.
10
             2.   Plaintiff brings this action acting as a “private attorney general” as
11

12   permitted under the American with Disabilities Act of 1990 (“ADA”) to privatize

13   enforcement of the ADA without the American tax payer(s) bearing the financial tax
14   burden for such action.
15           3.   Plaintiff is informed and believes and thereon alleges that Defendant
16   BED BATH & BEYOND OF CALIFORNIA, LIMITED LIABILITY COMPANY,
17   a Delaware limited liability company, dba, Bed Bath & Beyond owned the property
18   located at 2595 Pacific Coast Highway, Torrance, CA 90505 (“Property”) on August
19   14, 2017.
20           4.   Plaintiff is informed and believes and thereon alleges that Defendant
21   BED BATH & BEYOND OF CALIFORNIA, LIMITED LIABILITY COMPANY,
22   a Delaware limited liability company, dba, Bed Bath & Beyond, owns the Property
23   currently.
24           5.   Plaintiff is informed and believes and thereon alleges that Defendant
25   BED BATH & BEYOND OF CALIFORNIA, LIMITED LIABILITY COMPANY,
26   a Delaware limited liability company, dba, Bed Bath & Beyond, operated and
27   controlled Bed Bath & Beyond (“Business”) located at the Property August 14,
28   2017.
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                                           COMPLAINT
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 1          6.     Defendant BED BATH & BEYOND OF CALIFORNIA, LIMITED
 2   LIABILITY COMPANY, a Delaware limited liability company, dba, Bed Bath &
 3   Beyond, operates and controls the Business located at the Property currently.
 4          7.     Plaintiff does not know the true names of Defendants, their business
 5   capacities, their ownership connection to the subject property and business, or their
 6   relative responsibilities in causing the access violations herein complained of, and
 7   alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
 8   informed and believes that each of the Defendants herein, including Does 1 through
 9   10, inclusive, is responsible in some capacity for the events herein alleged, or is a
10   necessary party for obtaining appropriate relief. Plaintiff will seek leave to amend
11   when the true names, capacities, connections, and responsibilities of the Defendants
12   and Does 1 through 10, inclusive, are ascertained.
13                               JURISDICTION AND VENUE
14          8.     This Court has subject matter jurisdiction over this action pursuant
15   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans
16   with Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. ("ADA").
17          9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
18   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act
19   (“UCRA”) claims are so related to Plaintiff’s federal ADA claims in that they have
20   the same nucleus of operative facts and arising out of the same transactions, they
21   form part of the same case or controversy under Article III of the United States
22   Constitution.
23          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
24   real property which is the subject of this action is located in this district and because
25   Plaintiff's causes of action arose in this district.
26                                FACTUAL ALLEGATIONS
27          11.    Plaintiff went to the Business on or about August 14, 2017, to possibly
28   purchase clothes.
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                                             COMPLAINT
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 1         12.    The Business is a facility open to the public, a place of public
 2   accommodation, and a business establishment.
 3         13.    Parking spaces are one of the facilities, privileges and advantages
 4   reserved by defendants to persons at the property serving the Business.
 5         14.    Unfortunately, although access paths were one of the facilities reserved
 6   for patrons, there were no access paths available for persons with disabilities that
 7   complied with the Americans with Disability Act Accessibility Guidelines
 8   (“ADAAG”) August 14, 2017.
 9         15.    Instead of having a compliant access aisle and designated disabled
10   parking on the property, Defendants have: parking spaces that have a ramp
11   extending from a curb into the access aisle and disabled parking spaces causing the
12   disabled parking spaces and/or access aisle to contain slopes well in excess of 2.1%;
13   and, have excessive cross slopes in the disabled parking spaces. In addition, there
14   exists a path of travel pursuant to ADAAG that is too narrow for wheelchairs to
15   negotiate safely and the path of travel was blocked with shopping carts.
16         16.    Therefore, currently, there is no compliant designated disabled parking
17   or accessible path of travel to the accessible entryway serving the Business which
18   are designed for persons with disabilities.
19         17.    Subject to the reservation of rights to assert further violations of law
20   after a site inspection found infra at paragraph 26, Plaintiff asserts there are
21   additional ADA violations which affect him personally.
22         18.    Plaintiff is informed and believes and thereon alleges Defendants had
23   no policy or plan in place to make sure that there was a compliant accessible access
24   pathway reserved for persons with disabilities prior to August of 2017.
25         19.    Plaintiff is informed and believes and thereon alleges Defendants have
26   no policy or plan in place to make sure that the designated disabled parking and
27   accessible pathways for persons with disabilities comport with the ADAAG.
28         20.    The accessible pathway for use by persons with disabilities are a tip
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                                           COMPLAINT
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 1   over, crash, fall hazard or trip hazard because it contains a curb ramp and cross
 2   slopes which represent a danger to health, safety and welfare.
 3          21.   Plaintiff personally encountered these barriers because he was in a
 4   wheelchair. These inaccessible conditions denied the Plaintiff full and equal access
 5   and caused him difficulty, humiliation and frustration because it represented a tip-
 6   over hazard, and/or crash and fall hazard and Plaintiff worried about his safety.
 7          22.   As an individual with a mobility disability who at times is dependent
 8   upon a wheelchair or other mobility device, Plaintiff has a keen interest in whether
 9   public accommodations have architectural barriers that impede full accessibility to
10   those accommodations by individuals with mobility impairments.
11          23.   Plaintiff is being deterred from patronizing the Business and its
12   accommodations on particular occasions, but intends to return to the Business for the
13   dual purpose of availing himself of the goods and services offered to the public and
14   to ensure that the Business ceases evading its responsibilities under federal and state
15   law.
16          24.   The defendant has failed to maintain in working and useable conditions
17   those features required to provide ready access to persons with disabilities.
18          25.   The violations identified above are easily removed without much
19   difficulty or expense. They are the types of barriers identified by the Department of
20   Justice as presumably readily achievable to remove and, in fact, these barriers are
21   readily achievable to remove. Moreover, there are numerous alternative
22   accommodations that could be made to provide a greater level of access if complete
23   removal were not achievable.
24          26.   Given the obvious and blatant violation alleged hereinabove, Plaintiff
25   alleges, on information and belief, that there are other violations and barriers in the
26   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
27   notice regarding the scope of this lawsuit, once he conducts a site inspection.
28   However, please be on notice that the Plaintiff seeks to have all barriers related to
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                                           COMPLAINT
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 1   his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding
 2   that once a plaintiff encounters one barrier at a site, the plaintiff can sue to have all
 3   barriers that relate to his disability removed regardless of whether he personally
 4   encountered them).
 5         27.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 6   alleges, on information and belief, that the failure to remove these barriers was
 7   intentional because: (1) these particular barriers are intuitive and obvious; (2) the
 8   defendants exercised control and dominion over the conditions at this location prior
 9   to July 16, 2017, (3) the lack of accessible facilities was not an accident because had
10   the defendants intended any other configuration, they had the means and ability to
11   make the change.
12         28.    Without injunctive relief, plaintiff will continue to be unable to fully
13   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
14                                FIRST CAUSE OF ACTION
15    VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
16                                   42 U.S.C. § 12181 et seq.
17         29.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
18   above and each and every other paragraph in this Complaint necessary or helpful to
19   state this cause of action as though fully set forth herein.
20         30.    Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods, and services of any place
22   of public accommodation are offered on a full and equal basis by anyone who owns,
23   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
24   Discrimination is defined, inter alia, as follows:
25                a.      A failure to make reasonable modifications in policies, practices,
26                        or procedures, when such modifications are necessary to afford
27                        goods, services, facilities, privileges, advantages, or
28                        accommodations to individuals with disabilities, unless the
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                                            COMPLAINT
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 1                       accommodation would work a fundamental alteration of those
 2                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3                b.     A failure to remove architectural barriers where such removal is
 4                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 5                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 6                       Appendix "D".
 7                c.     A failure to make alterations in such a manner that, to the
 8                       maximum extent feasible, the altered portions of the facility are
 9                       readily accessible to and usable by individuals with disabilities,
10                       including individuals who use wheelchairs, or to ensure that, to
11                       the maximum extent feasible, the path of travel to the altered area
12                       and the bathrooms, telephones, and drinking fountains serving
13                       the area, are readily accessible to and usable by individuals with
14                       disabilities. 42 U.S.C. § 12183(a)(2).
15         31.    Any business that provides parking spaces must provide accessible
16   parking spaces. 1991 Standards § 4.1.2(5). 2010 Standards § 208. Under the 1991
17   Standards, parking spaces and access aisles must be level with surface slopes not
18   exceeding 1:50 (2.0%) in all directions. 1991 Standards § 4.6.2. Under the 2010
19   Standards, access aisles shall be at the same level as the parking spaces they serve.
20   Changes in level are not permitted. 2010 Standards § 502.4. "Access aisles are
21   required to be nearly level in all directions to provide a surface for wheelchair
22   transfer to and from vehicles." 2010 Standards § 502.4 Advisory. Here the failure to
23   provide a level access aisle in the designated disabled parking space is a violation of
24   the law and excess slope angle in the access pathway is a violation of the law.
25         32.    A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily accessible
27   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28         33.    Here, the failure to ensure that accessible facilities were available and
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                                           COMPLAINT
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 1   ready to be used by Plaintiff is a violation of law.
 2         34.       Given its location and options, Plaintiff will continue to desire to
 3   patronize the Business but he has been and will continue to be discriminated against
 4   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 5   the barriers.
 6                                SECOND CAUSE OF ACTION
 7       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 8         35.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 9   above and each and every other paragraph in this Complaint necessary or helpful to
10   state this cause of action as though fully set forth herein.
11         36.       California Civil Code § 51 et seq. guarantees equal access for people
12   with disabilities to the accommodations, advantages, facilities, privileges, and
13   services of all business establishments of any kind whatsoever. Defendants are
14   systematically violating the UCRA, Civil Code § 51 et seq.
15         37.       Because Defendants violate Plaintiff’s rights under the ADA, they also
16   violated the UCRA and are liable for damages. (Civ. Code § 51(f), 52(a).) These
17   violations are ongoing.
18         38.       Plaintiff is informed and believes and thereon alleges that Defendants’
19   actions constitute intentional discrimination against Plaintiff on the basis of a
20   disability, in violation of the UCRA, Civil Code § 51 et seq., because Defendants
21   have been previously put on actual or constructive notice that the Business is
22   inaccessible to Plaintiff. Despite this knowledge, Defendants maintain their
23   premises in an inaccessible form, and Defendants have failed to take actions to
24   correct these barriers.
25                                            PRAYER
26    WHEREFORE, Plaintiff prays that this court award damages provide relief as
27   follows:
28         1.        A preliminary and permanent injunction enjoining Defendants from
                                                  8
                                              COMPLAINT
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 1   further violations of the ADA, 42 U.S.C. § 12181 et seq., and UCRA, Civil Code §
 2   51 et seq. with respect to its operation of the Business and Property; Note: Plaintiff
 3   is not invoking section 55 of the California Civil Code and is not seeking
 4   injunctive relief under the Disable Persons Act (Cal. C.C. §54) at all.
 5         2.     An award of actual damages and statutory damages of not less than
 6   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 7         3.     An additional award of $4,000.00 as deterrence damages for each
 8   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 9   LEXIS 150740 (USDC Cal, E.D. 2016);
10         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
11   pursuant to 42 U.S.C. § 12205; California Civil Code § 52;
12                               DEMAND FOR JURY TRIAL
13         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
14   raised in this Complaint.
15

16   Dated: September 6, 2017               MANNING LAW, APC
17

18                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
19                                       Michael J. Manning, Esq.
20                                       Craig G. Côté, Esq.
                                         Attorneys for Plaintiff
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                                           COMPLAINT
